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         IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :     No. 1:20-cr-17
                                        :
v.                                      :     (Judge Wilson)
                                        :
CHRISTOPHER COLLARE,                    :
          Defendant                     :     Electronically filed


        UNITED STATES’ SENTENCING MEMORANDUM

     Defendant Christopher Collare vowed to serve justice and uphold

the law. For at least six years, however, he did the exact opposite,

regularly and significantly abusing the power and authority that he

wielded as a local and federal law enforcement officer. His illegal conduct

ran the gamut—bribery, drug distribution, falsifying official forms, and

lying to investigators. Collare’s crimes not only stamped a substantial

black mark on his work and jeopardized cases in which he was involved,

but they also were—and remain—corrosive to the public’s already-fragile

trust in law enforcement and the criminal justice system.

     Collare’s conduct appropriately resulted in a guideline range that

calls for a substantial term of imprisonment. The range accounts for

important facts, such as Collare’s public position, his acceptance of more
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than one bribe, and his obstruction of justice. The guideline calculation

does not, however, capture multiple additional aggravating factors.

Those include the longevity of Collare’s conduct, which casts an all-

consuming shadow over his career; and Collare’s exploitation of

particularly vulnerable members of the community.         Based on those

factors, as well as sentences imposed in comparable cases, the

Government requests an upward variance and a sentence of at least 60

months.

I.   Collare’s criminal conduct persisted for over six years.

     The seriousness of Collare’s conduct is heightened by its longevity

and regularity.    Collare’s crimes cannot be described as isolated

mistakes. Rather, they permeated years of his law enforcement career

and almost certainly would have continued had he not been discovered.

While the guideline range accounts for Collare’s abuse of the public trust,

it does not incorporate the persistence of that abuse. The regularity with

which Collare abused his authority over many years of his career requires

a significant sentence and supports an upward variance.

     The beginning of Collare’s criminal conduct is unknown to the

Government, but the trial evidence shows that his crimes spanned at
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least six years. Collare became a member of the Cumberland County

Drug Trask Force (CCDTF) in late 2011. Doc. 121 ¶ 6. Within a few

months, he provided heroin to Tiffany Newberry, one of his young female

confidential informants and a struggling addict. Id. ¶ 8. And sometime

soon thereafter, he enticed her to perform oral sex on him in exchange for

money that she used to purchase heroin. Id. ¶ 9. Fast forward to early

2018 and a few months before Collare was first confronted by federal

agents: Collare proposed a comparable arrangement to Brielle Johnson.

Collare solicited and received oral sex from Johnson in exchange for

promising to get her boyfriend a relatively lenient sentence. Id. ¶ 15.

And of course, in the years between Collare’s exploitation of Newberry

and Johnson, he engaged in similar conduct with other women: allowing

Crystal Meeker to keep heroin she purchased during controlled buys;

providing heroin to Ashley Barrick and agreeing to accept sex in

exchange for not appearing at her boyfriend’s hearing; providing heroin

to Amy Keller; and sexually assaulting Romaine Whistler (née

Stansfield).   Id. ¶¶ 10, 12-13, 16-19.   The evidence presents a clear

picture that, at a minimum, six-plus years of Collare’s law enforcement

career were infected by his crimes.
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     The ongoing and extended nature of Collare’s illegal conduct

enhanced its capacity to damage public trust in law enforcement and the

criminal justice system. This is particularly true since Collare went

beyond merely utilizing his public position to achieve his desired ends.

He did not, for example, only develop inappropriate relationships with

confidential informants and then lie about them. He went much further,

repeatedly warping and manipulating the criminal justice process. This

fact is most stark in the quid pro quo agreements with Barrick and

Johnson, through which he agreed to subvert the criminal justice process

in exchange for sex.    But it is also apparent in the numerous law

enforcement documents (namely, the CCDTF Form Bs) that Collare

doctored in an effort to cover up his conversion of drug evidence for his

own purposes.1 E.g., Doc. 121 ¶¶ 8, 10, 14. That type of conduct, as Chief

Kenneth Hassinger explained, “opens the door for suspicion and a cloud


1 To be sure, the jury found Collare not guilty of wire fraud. But given
the guilty verdicts on other counts, one can infer that the jury credited
the Government’s evidence indicating that Collare underreported on
numerous occasions drugs purchased during controlled buys. The false
statement convictions, in particular, illustrate that Collare was willing
to lie in order to cover up his criminal conduct. The Court, in any event,
may consider for sentencing purposes evidence underlying an acquitted
charge. United States v. Watts, 519 U.S. 148, 157 (1997) (per curiam).
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of doubt as to the integrity of [an] investigation” and “diminishes the

credibility of the Task Force, including the officers involved in it.”

Doc. 102, at 87, 90.2 That “cloud of doubt” had a significant real-world

impact given the recurring nature of Collare’s conduct. The Cumberland

County District Attorney’s Office dropped over twenty cases in which

Collare was involved and had to be prepared to address requests for older

cases—going back as far as 2011—to be re-opened. See PennLive, “Cases

dropped following arrest of former Cumberland County detective: report”

(Jan. 27, 2020), https://www.pennlive.com/news/2020/01/cases-dropped-

following-arrest-of-former-cumberland-county-detective-report.html.

Collare’s misconduct was not an isolated blemish, but rather persisted

throughout at least six years of his law enforcement career, enhancing

its potential harm to society and rendering hollow the platitudes Collare

has offered in support of leniency.

II.     Collare exploited vulnerable individuals.

        A consistent thread, running throughout the entirety of Collare’s

conduct, was his exploitation of vulnerable individuals.                  Those




2   Citations are to the page number listed in the CM/ECF header.
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individuals were generally young women who were recovering from drug

addiction or still struggling with addiction. They were the products of

difficult childhoods, which, for some, included abuse. And they found

themselves entangled in the criminal justice system and at the mercy of

officers like Collare.

      To serve his own desires, Collare used these women and their

histories and fed their addiction. The psychological impact of his conduct

could be seen first-hand during trial testimony.         The Government

highlights here some aspects of that testimony as examples of the

vulnerabilities Collare exploited and the effects of his actions.

           Johnson’s father abused her as a child. Doc. 108, at 62-63.

            Collare knew this, and while discussing it with her, he rubbed

            her thigh near her groin and said he missed having “daddy-

            daughter time with his daughter” and would “like to do that

            with” her. Id. at 63. Collare of course solicited oral sex from

            Johnson, and his conduct left Johnson feeling powerless and

            embarrassed. Id. at 102.

           Meeker struggled with heroin addiction throughout the time

            she cooperated with Collare, and ultimately decided that she
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           needed to stop cooperating because it was perpetuating her

           addiction. Doc. 104, at 110-11. Collare, however, made her

           “feel like [she] had to keep doing it.” Id. at 111. Additionally,

           when Meeker expressed hesitation about cooperating against

           her boyfriend, Collare put his hands on her face and told her

           she needed to proceed. Id. at 115.

          Whistler likely offered the most disturbing testimony,

           recounting Collare’s rape of her in Carlisle’s Biddle Mission

           Park. Doc. 103, at 58-62. Whistler viewed Collare as a father

           figure and contacted him on that particular day because she

           was looking for comfort following an altercation with her wife

           about her wife’s desire for a divorce. Id. at 30, 59.

     These facts are not captured by Collare’s guideline range and

further weigh in favor of an upward variance.3 Indeed, Collare’s sexual

assault of Whistler could justify a sentence far in excess of the guideline

range. The Government recognizes that Collare was neither charged


3 Although Collare’s crimes involved vulnerable individuals and he (in
colloquial terms) victimized them, USSG § 3A1.1’s vulnerable-victim
enhancement does not apply since (under the guidelines) those
individuals are not victims of the offenses of conviction.
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with nor convicted of sexual assault and has formulated its

recommendation accordingly. But Collare’s exploitation of Whistler and

others nonetheless demands a significant sentence and warrants an

upward variance.

III. Sentences imposed for similar conduct support an upward
     variance.

     Sentences imposed in this Court and others on law enforcement

officers who committed crimes similar to Collare’s provide additional

confirmation that a substantial sentence is needed. Crimes like Collare’s

not only adversely impact individual cases, but they also engender public

doubt about the integrity of law enforcement agencies and the entire

criminal justice system. In cases of this type, it is therefore critically

important—perhaps more so than in any other case—that the sentence

promote respect for the law and deter similar conduct. Recent sentences

in comparable cases reflect these objectives.

          Most recently, Judge Mannion sentenced a Scranton police

           officer to 72 months’ imprisonment, varying upward from the

           guideline range of 30 to 37 months.        The defendant had

           pleaded guilty to violating 18 U.S.C. § 666(a)(1)(B) by

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           accepting sexual favors from four female confidential

           informants in exchange for taking official acts on their behalf

           or promising to take official acts. United States v. McDonald,

           No. 3:21-cr-168 (M.D. Pa.).

          Judge Mannion sentenced an Ashley Borough police officer to

           180 months’ imprisonment after the officer pleaded guilty to

           a civil rights violation. The officer had sexually assaulted two

           females in custody. United States v. Icker, No. 19-cr-338 (M.D.

           Pa.).

          A Colorado police officer was sentenced to 72 months’

           imprisonment after the officer pleaded guilty to a civil rights

           violation.   The officer sexually assaulted a crime victim.

           United States v. Arganbright, No. 19-cr-445 (D. Colo.).

     These sentences—which each followed guilty pleas—confirm the

significant public interests at stake in cases involving crimes by law

enforcement officers. Those interests are heightened here, where the

officer has, to date, not expressed acceptance of responsibility or remorse

and sought to subvert justice by lying to investigators about even the

most straightforward facts. Doc. 121 ¶ 21 (noting that Collare falsely
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told agents that Keller had never worked as a confidential informant for

him and the CCDTF). Collare, in short, has done nothing to address his

betrayal of the public trust and the substantial harm that his conduct

has caused. The Court’s sentence must do so.

                            CONCLUSION

     The Court should vary upward and impose a sentence of at least 60

months.



March 4, 2022                        Respectfully submitted,

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                    CERTIFICATE OF SERVICE

     I certify that on March 4, 2022, I served the foregoing document by

electronic service on the following individual:

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